Case: 4:20-cr-00418-JAR Doc. #: 372 Filed: 09/12/22 Page: 1 of 2 PageID #: 2206




                             IN THE UNITED STATES DISTRICT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
         Plaintiff,                             )
                                                )
Vs.                                             )         Case No. 4:20-CR-00418 JAR (NAB)
                                                )
TERICA ELLIS,                                   )
                                                )
         Defendant.                             )

                              MOTION TO CONTINUE SENTENCING

         Comes now Defendant Terica Ellis, by and through Counsel William J. Ekiss and herein

files with this Honorable Court, defendant’s motion to continue sentencing set for November 2,

2022. In support of this motion the defendant states the following”

      1. The defendant is part of an on-going to trial involving murder for hire. The trial remains

         in an active state, and is currently on-going.

      2. As the Court knows, Ms. Ellis testified at the ongoing trial. Because of the trial, defense

         counsel and probation were not able to get her pretrial interview scheduled due to the trial

         scheduling. As such, the earliest we could get a date for the interview is Monday the

         19th of September.

      3. In accordance with the statute, a disclosure copy of the presentence report, under the

         current setting of November 2, 2022 for sentencing, is due September 21, 2022. That

         will not permit probation enough time to secure any records, documents or other items

         deemed necessary for a proper presentence report disclosure copy to be prepared.

      4. As such, the parties request that the sentencing set for November 2, 2022 be continued

         until early January so that all necessary records, documents and other material may be
Case: 4:20-cr-00418-JAR Doc. #: 372 Filed: 09/12/22 Page: 2 of 2 PageID #: 2207




       obtained, and that the parties each have the time necessary to review those records and

       documents in the anticipation of filing any objections or variance requests.

WHEREFORE, for the above stated reasons, and by consent of the parties, as well as probation

Counsel for the defendant respectfully requests that the sentencing set in this case for November

2, 2022 be continued to January 2023.

                                                    Respectfully submitted,

                                                    LAMPIN LAW FIRM

                                                    /s/William J. Ekiss
                                                    William J. Ekiss (#47389)
                                                    Attorney for Defendant
                                                    5770 Mexico Rd., Ste. A
                                                    St. Peters, MO 63376
                                                    (636) 317-6331
                                                    billekiss@lampinlaw.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that this 29th day of August, 2022 the foregoing was filed electronically
with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
the following: Ms. Angie Danis and Ms. Gwen Carroll, Assistant U. S. Attorneys, and Ms. Amy
Linn, Federal Office of Probation.

                                                    /s/ William J. Ekiss
                                                    William J. Ekiss (#47389)
                                                    Attorney for Defendant
                                                    5770 Mexico Rd. Ste A
                                                    St. Peters, MO 63376
                                                    billekiss@lampinlaw.com
